989 F.2d 497
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James L. WATKINS, Jr., Plaintiff-Appellant,v.M. E. BAUMGARNER;  Attorney General of North Carolina,Defendants-Appellees.
    No. 92-6252.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  January 12, 1993Decided:  March 30, 1993
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  James C. Fox, Chief District Judge.  (CA-90-614-HC-F)
      James L. Watkins, Jr., Appellant Pro Se.  Clarence Joe DelForge, III, OFFICE OF THE ATTORNEY GENERAL OF NORTH CAROLINA, Raleigh, North Carolina, for Appellees.
      E.D.N.C.
      AFFIRMED.
      Before WIDENER, PHILLIPS, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      James L. Watkins, Jr., appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Watkins v. Baumgarner, No. CA-90-614-HC-F (E.D.N.C. Feb. 3, 1992).  We deny Watkins' motion for appointment of counsel and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    